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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                  )
 SALVADOR MANCUSO GOMEZ,                          )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )
                                                           Civil Action No. 20-2250 (RJL)
                                                  )
 ALEJANDRO MAYORKAS, Secretary,                   )
 Department of Homeland Security, et al.,         )
                                                  )
                Defendant.                        )
                                                  )

                                NOTICE OF SUBSTITUTION

       The Clerk of the Court will please enter the appearance of Assistant United States Attorney

Stephen DeGenaro and remove the appearance of Assistant United States Attorney April Seabrook

as counsel of record for the Defendants in the above-captioned case.



Dated: August 9, 2022
                                              Respectfully submitted,



                                              /s/ Stephen DeGenaro
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